Case: 1:17-cv-06260 Document #: 752 Filed: 06/27/19 Page 1 of 1 PageID #:5500

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

State Of Illinois
                            Plaintiff,
v.                                                 Case No.: 1:17−cv−06260
                                                   Honorable Robert M. Dow Jr.
City Of Chicago
                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, June 27, 2019:


       MINUTE entry before the Brian Barnett Duff: Motion hearing held. Reply to
motion to extend implementation date of Para. 188 to 196 of the Consent Decree [747] is
due 7/3/2019; motion is taken under advisement and the Court will issue a ruling by mail.
Mailed notice(cdh, )




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